OPINION — AG — (1) THE BOARD OF COUNTY COMMISSIONERS MAY "LEASE COURTHOUSE SPACE TO INDIVIDUALS IN PRIVATE BUSINESS OR PROFESSION" IF SUCH SPACE IS NOT NEEDED FOR COUNTY PURPOSE, OR IS NOT SUITABLE FOR COUNTY PURPOSE. (2) THE BOARD OF COUNTY COMMISSIONERS MAY " PROVIDED RENT FREE OFFICE SPACE TO JUSTICES OF THE PEACE " IF SUCH SPACE IS NOT NEEDED FOR COUNTY PURPOSES. CITE: 19 O.S.H. 1, 19 O.S.H. 3, 19 O.S.H. 330, 39 O.S.H. 6 (J. H. JOHNSON)